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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

WENDELL H. STONE COMPANY INC.,

                      Plaintiff,

v.                                                         Case No: 6:19-cv-2168-Orl-37LRH

RESORT CONFIRMATIONS, INC. and
DANIEL MARSHALL,

                      Defendants.


                  RELATED CASE ORDER AND TRACK TWO NOTICE

        No later than fourteen (14) days from the date of this Notice, counsel and any pro se

 party shall comply with Local Rule 1.04(d) and shall file and serve a certification as to whether

 the instant action should be designated as a similar or successive case pursuant to Local Rule

 1.04(a)(b). The parties shall utilize the attached form titled Notice of Pendency of Other

 Actions.

       Additionally, in accordance with Local Rule 3.05, this action is designated as a

TRACK TWO CASE. The Court's goal is to try most Track Two cases within 12 - 24 months

of filing. The filing party (that is, the party that instituted suit in this Court) is responsible

for serving a copy of this Notice and its attachments upon all other parties. To facilitate

the issuance of a Case Management and Scheduling Order within the time periods

described in Fed.R.Civ.P.16(b)(2), the parties shall conduct a case management conference

within 45 days after the earlier of: (1) service of process on any defendant; or (2) the

appearance of any defendant. The Case Management Report (“Report”) must be filed

within seven (7) days of the case management conference. In preparing their Report, the

parties shall consult the Federal Rules of Civil Procedure and the Local Rules (available

from the Clerk or at http://www.flmd.uscourts.gov). Counsel for all parties share the
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obligation to timely comply with the requirements of Fed.R.Civ.P.16(b)(2) and are

reminded that they must do so despite the pendency of any undecided motions. All parties

must send courtesy copies of all filings that exceed 25 pages, inclusive of exhibits, regardless

of whether the filing is done electronically or in paper.

          The parties are advised that utilization of the attached Case Management Report

 form is mandatory.

 Date: November 19, 2019.                              ELIZABETH M. WARREN,
                                                       CLERK

                                                       By: /s/ Landon Countryman
                                                       Deputy Clerk

Copies:             Counsel of Record / Pro Se Parties
                              Attachments:      Case Management Report form
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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

WENDELL H. STONE COMPANY INC.,

                       Plaintiff,

v.                                                         Case No: 6:19-cv-2168-Orl-37LRH

RESORT CONFIRMATIONS, INC. and
DANIEL MARSHALL,

                       Defendants.
___________________________________


                       Notice Of Pendency Of Other Actions
         In accordance with Local Rule 1.04(d), I certify that the instant action:

          IS           related to pending or closed civil or criminal case(s) previously filed in
                       this Court, or any other Federal or State court, or administrative agency
                       as indicated below:




          IS NOT       related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.


Dated:



Plaintiff(s)Counsel of Record                              Defendant(s) Counsel of Record
          or Pro Se Party                                        or Pro Se Party
   [Address and Telephone]                                    [Address and Telephone]
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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                           Plaintiff,

v.                                                                             Case No.


                           Defendant.


                            CASE MANAGEMENT REPORT

      The parties have agreed on the following dates and discovery plan pursuant to

Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):

DEADLINE OR EVENT                                                             AGREED DATE
Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P. 26(a)(1) as
amended effective December 1, 2000) [Court recommends 30 days after
CMR meeting]
Certificate of Interested Persons and Corporate Disclosure Statement
[each party who has not previously filed must file immediately]
Motions to Add Parties or to Amend Pleadings
[Court recommends 1 - 2 months after CMR meeting]
Disclosure of Expert Reports                           Plaintiff:
                                                   Defendant:
[Court recommends last exchange 6 months before trial and 1 - 2 months
before discovery deadline to allow expert depositions]
Discovery Deadline [Court recommends 6 months before trial to allow
time for dispositive motions to be filed and decided; all discovery must be
commenced in time to be completed before this date]
Dispositive Motions, Daubert, and Markman Motions [Court recommends
no less than 5 months before trial]
Joint Final Pretrial Statement (Including a Single Set of Jointly-Proposed
Jury Instructions, Verdict Form and Voir Dire Questions emailed to
chambers_FLMD_Dalton@flmd.uscourts.gov in Word format), Witness
Lists, Exhibit Lists with Objections on Approved Form) Trial Briefs
[Court recommends 4 weeks before Final Pretrial Conference]
All Other Motions Including Motions In Limine [Court recommends 3
weeks before Final Pretrial Conference]
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 DEADLINE OR EVENT                                                                          AGREED DATE
 Final Pretrial Conference [Court will set a date that is approximately 3
 weeks before trial]
 Trial Term Begins [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1
 year of filing complaint in most Track Two cases, and within 2 years in all
 Track Two cases; trial term must not be less than 4 months after
 dispositive motions deadline (unless filing of such motions is waived.
 Estimated Length of Trial [trial days]
 Jury / Non-Jury
 Mediation                                                        Deadline:
                                                                  Mediator:
                                                                  Address:

                                                     Telephone:
 [Absent arbitration, mediation is mandatory; Court recommends either 2 -
 3 months after CMR meeting, or just after discovery deadline]
 All Parties Consent to Proceed Before Magistrate Judge                                   Yes____ No____

                                                                                          Likely to Agree in
                                                                                          Future _____


I.     Meeting of Parties in Person

       Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held

in person on _________________ (date) at                                                      (time) at

(place) and was attended by:

                  Name                                              Counsel for (if applicable)

II.    Pre-Discovery Initial Disclosures of Core Information

       Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures


        1
            A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.
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        Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these

disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

Middle District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the

mandatory discovery requirements):

        The parties __ have exchanged __ agree to exchange (check one) information

described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by                                   (date).

        Below is a description of information disclosed or scheduled for disclosure.



III.    Electronic Discovery

        The parties have discussed issues relating to disclosure or discovery of

electronically stored information ("ESI"), including Pre-Discovery Initial Disclosures of

Core Information in Section II above, and agree that (check one):

        __    no party anticipates the disclosure or discovery of ESI in this case;

        __    one or more of the parties anticipate the disclosure or discovery of ESI in this

case.

        If disclosure or discovery of ESI is sought by any party from another party, then

the following issues shall be discussed: 2

        A. The form or forms in which ESI should be produced.

        B. Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will

be sought.



         2
             See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.
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      C. Whether the production of metadata is sought for any type of ESI, and if so,

what types of metadata.

      D. The various sources of ESI within a party's control that should be searched for

ESI, and whether either party has relevant ESI that it contends is not reasonably

accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

and reviewing that information.

      E.   The characteristics of the party's information systems that may contain

relevant ESI, including, where appropriate, the identity of individuals with special

knowledge of a party's computer systems.

      F.   Any issues relating to preservation of discoverable ESI.

      G. Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, only in the

unusual event an agreement between the parties is insufficient, an Order under Federal

Rules of Evidence Rule 502, If the parties agree that a protective order is needed, they

shall attach a copy of the proposed order to the Case Management Report, together with

a statement as to why an enforceable agreement between the parties is not sufficient.

The parties should attempt to agree on protocols that minimize the risk of waiver. Any

proposed protective order shall comply with Local Rule 1.09 and Section IV.F. below on

Confidentiality Agreements.

      H. Whether the discovery of ESI should be conducted in phases, limited, or

focused upon particular issues.

      Please state if there are any areas of disagreement on these issues and, if so,

summarize the parties' positions on each:

_____________________________________________________________________
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______________________________________________________________________

       If there are disputed issues specified above, or elsewhere in this report, then

(check one):

       ___     one or more of the parties requests that a preliminary pre-trial conference

under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

Although this will be a non-evidentiary hearing, if technical ESI issues are to be

addressed, the parties are encouraged to have their information technology experts with

them at the hearing.

       If a preliminary pre-trial conference is requested, a motion shall also be filed

pursuant to Rule 16(a), Fed.R.Civ.P.

       ___     all parties agree that a hearing is not needed at this time because they

expect to be able to promptly resolve these disputes without assistance of the Court.

IV.    Agreed Discovery Plan for Plaintiffs and Defendants

       A.      Certificate of Interested Persons and Corporate Disclosure Statement

This Court has previously ordered each party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and

Corporate Disclosure Statement using a mandatory form. No party may seek discovery

from any source before filing and serving a Certificate of Interested Persons and

Corporate Disclosure Statement. A motion, memorandum, response, or other paper C

including emergency motion C is subject to being denied or stricken unless the filing

party has previously filed and served its Certificate of Interested Persons and Corporate

Disclosure Statement. Any party who has not already filed and served the required

certificate is required to do so immediately.
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       Every party that has appeared in this action to date has filed and served a

Certificate of Interested Persons and Corporate Disclosure Statement, which remains

current:                    _______ Yes

                            _______ No

Amended Certificate will be filed by ___________ (party) on or before __________

                            date).

       B.     Discovery Not Filed

       The parties shall not file discovery materials with the Clerk except as provided in

Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

See Local Rule 3.03 (f). The parties further agree as follows:



       C.     Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per

side (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule

3.02(b). Absent leave of Court, the parties may serve no more than twenty-five

interrogatories, including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent

leave of Court or stipulation of the parties each deposition is limited to one day of seven

hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on

discovery. The Court will consider the parties= agreed dates, deadlines, and other

limits in entering the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in

the above table, the parties have agreed to further limit discovery as follows:

              1.     Depositions



              2.     Interrogatories
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              3.     Document Requests



              4.     Requests to Admit



              5.     Supplementation of Discovery

       D.     Discovery Deadline

       Each party shall timely serve discovery requests so that the rules allow for a

response prior to the discovery deadline. The Court may deny as untimely all motions

to compel filed after the discovery deadline. In addition, the parties agree as follows:



       E.     Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert

reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

and other information disclosed in the written expert report disclosed pursuant to this

order. Failure to disclose such information may result in the exclusion of all or part of the

testimony of the expert witness. The parties agree on the following additional matters

pertaining to the disclosure of expert testimony:



       F.     Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue

from whether the parties may agree that produced documents are confidential. The

Court is a public forum, and disfavors motions to file under seal. The Court will permit
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the parties to file documents under seal only upon a finding of extraordinary

circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

1985). A party seeking to file a document under seal must file a motion to file under seal

requesting such Court action, together with a memorandum of law in support. The

motion, whether granted or denied, will remain in the public record.

         The parties may reach their own agreement regarding the designation of materials

as Aconfidential.@       There is no need for the Court to endorse the confidentiality

agreement.       The Court discourages unnecessary stipulated motions for a protective

order.        The Court will enforce appropriate stipulated and signed confidentiality

agreements.        See Local Rule 4.15.    Each confidentiality agreement or order shall

provide, or shall be deemed to provide, that Ano party shall file a document under seal

without first having obtained an order granting leave to file under seal on a showing of

particularized need.@ With respect to confidentiality agreements, the parties agree as

follows:

         G.      Other Matters Regarding Discovery C



VI.      Settlement and Alternative Dispute Resolution.

         A.      Settlement C

                 The parties agree that settlement is _____   likely ______ unlikely

                        (check one)

                 The parties request a settlement conference before a United States

Magistrate Judge.               yes         no            likely to request in future

         B.      Arbitration
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              The Local Rules no longer designate cases for automatic arbitration, but the

parties may elect arbitration in any case. Do the parties agree to arbitrate?

                  yes                   no                     likely to agree in future

       _______ Binding                          ________       Non-Binding

       C.     Mediation

              Absent arbitration or a Court order to the contrary, the parties in every case

will participate in Court-annexed mediation as detailed in Chapter Nine of the Court=s

Local Rules. The parties have agreed on a mediator from the Court=s approved list of

mediators as set forth in the table above, and have agreed to the date stated in the table

above as the last date for mediation. The list of mediators is available from the Clerk,

and is posted on the Court=s web site at http://www.flmd.uscourts.gov.

       D.     Other Alternative Dispute Resolution C

       The parties intend to pursue the following other methods of alternative dispute

resolution:


Date: _____________________

Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
Unrepresented Parties.


_________________________________               _________________________________

_________________________________               _________________________________

_________________________________               _________________________________

_________________________________               _________________________________
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Middle District of Florida

        WENDELL H. STONE COMPANY INC.                                    )
                              Plaintiff                                  )
                     v.                                                  )     Civil Action No.       6:19-cv-2168-Orl-37LRH
       RESORT CONFIRMATIONS, INC., et al.                                )
                            Defendants                                   )


        NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The
judgment may then be appealed directly to the United States court of appeals like any other judgment of this court.
A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

             Parties’ printed names                              Signatures of parties or attorneys                      Dates




                                                              Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title



Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
